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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                       Northern Division

NATHANIEL D. BROWN                                *
3423 Littlestown Pike
Westminster, Maryland 21158                       *

       Plaintiff                                  *

vs.                                               *        Case No.:

RILL’S BUS SERVICE, INC. (t/a Rills Bus Service) *
218 Dutrow Road
Westminster, Maryland 21157                      *

 Serve On:                                        *
 Resident Agent
 David S. Ostrow                                  *
 11419 Cronridge Drive, Suite 1
 Owings Mills, Maryland 21117                     *

and                                               *

ANNA G. RILL, INC. (t/a Rills Bus Service)        *
218 Dutrow Road
Westminster, Maryland 21157                       *

 Serve On:                                        *
 Resident Agent
 David S. Ostrow                                  *
 11419 Cronridge Drive, Suite 1
 Owings Mills, Maryland 21117                     *

and                                               *

PAUL D. RILL (t/a Rills Bus Service)              *
218 Dutrow Road
Westminster, Maryland 21157                       *

and                                               *

DIANNE GROTE (t/a Rills Bus Service)              *
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218 Dutrow Road
Westminster, Maryland 21157                              *

       Defendants                                        *

*      *       *       *       *       *         *       *    *       *       *       *         *

                      COMPLAINT AND DEMAND FOR JURY TRIAL

       Nathaniel D. Brown, Plaintiff, by undersigned counsel, brings this suit against Rill’s Bus

Service, Inc., Anna G. Rill, Inc., Paul D. Rill, and Dianne Grote – all trading, acting, and operating

as Rills Bus Service -, Defendants and states:

                                             PARTIES

       1. Plaintiff, Nathaniel D. Brown, is an adult resident of Carroll County, State of Maryland.

       2. Defendant, Rill’s Bus Service, Inc., is, and at all times relevant hereto, was an entity

organized and existing under the laws of the State of Maryland, with its principal office and

place of business in Carroll County, Maryland, and which, at all times relevant hereto, regularly

conducted business in Carroll County, Maryland.

       3. Defendant, Anna G. Rill, Inc., is, and at all times relevant hereto, was an entity

organized and existing under the laws of the State of Maryland, with its principal office and

place of business in Carroll County, Maryland, and which, at all times relevant hereto, regularly

conducted business in Carroll County, Maryland.

       4. Defendant, Paul D. Rill, is an adult resident of Carroll County, State of Maryland.

       5. Defendant, Dianne Grote, is an adult resident of Carroll County, State of Maryland.

       6. At all times relevant hereto, each Defendant was acting in an individual capacity and as an

agent, servant and/or employee of each and every other Defendant.

       7. At all times relevant hereto, each Defendant was acting by and through his/her/its agents,
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servants and employees, including each and every other Defendant.

        8. At all times relevant hereto, each Defendant received and accepted the benefits of the

actions of his/her/its agents, servants and employees, including each and every other Defendant.

        9. At all times relevant hereto, each of the Defendants owned and/or controlled each of

the other Defendants.

        10. At all times relevant hereto, each of the Defendants traded as, acted as, and operated as

“Rills Bus Service,” Mr. Brown’s employer. Herein, Defendants, individually and or collectively

may be referred to as “Rills Bus Service.”

                                  JURISDICTION AND VENUE

        11. Jurisdiction over the federal claims is conferred by 28 U.S.C. §1331 (Federal Question),

28 U.S.C. §1332 (Diversity of Citizenship), §1343 (Civil Rights), and 42 U.S.C. §2000e-5(f)(3)

(Equal Employment Opportunities – Enforcement Provisions); and over the state law claims

pursuant to the doctrine of pendent jurisdiction.

        12. Venue is proper in this Court under 28 U.S.C. §1391 (Venue Generally) and 42 U.S.C.

§2000e-5(f)(3) (Equal Employment Opportunities – Enforcement Provisions) in that the claims that

are the subject of this Complaint arose in this judicial district, the unlawful employment practices

were committed in this judicial district, and Plaintiff worked in this judicial district until the

commissions of the unlawful employment practices by Defendants.

                              ADMINISTRATIVE PROCEEDINGS

        13. On or about April 2, 2019, Plaintiff filed a Charge of discrimination under Charge No.

531-2019-01661 with the U.S. Equal Employment Opportunity Commission (“EEOC”) against

Defendants. Plaintiff alleged that Defendants discriminated against him by discharging him and

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tricking him into signing a voluntary quit document, because of Plaintiff's disability, in violation of

the Americans with Disabilities Act of 1990, as amended.

        14. On or about August 19, 2020, the EEOC issued to Plaintiff a Dismissal and Notice of

Rights, notifying him of his right to bring this action. On August 21, 2020, Plaintiff received, via

first class mail, a said document. A copy of said document is attached hereto and incorporated herein

as Exhibit A.

        15. This Complaint is being filed within ninety (90) days of receipt of the aforesaid

Dismissal and Notice of Rights.

                  STATEMENT OF FACTS COMMON TO ALL COUNTS

        16. Nathaniel D. Brown has a congenital disability known as agenesis of the corpus callosum

(“ACC”), cognitive impairment, developmental delay, intellectual disability and other related

diagnoses. ACC is a rare disorder that is present at birth (congenital). It is characterized by a

partial or complete absence (agenesis) of an area of the brain that connects the two cerebral

hemispheres. Mr. Brown meets the legal definition for a developmental disability that has

significantly hindered his intellectual, cognitive, emotions, social, academic, occupational and

adaptive functioning. Even to the untrained layperson, it is clear and obvious that: (a) Mr. Brown

is a wonderful and trusting person, and (b) Mr. Brown has a disability.

        17. At all times relevant hereto, Rills Bus Service/Defendants’ principal activity in the

State of Maryland was providing motor coach and school bus services.

        18. On or about September 5, 2017, Defendants hired Mr. Brown for the position of school

bus assistant for special needs children.

        19. Mr. Brown, throughout the course of his employment with Defendants, fully and to the

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best of his abilities, performed the duties assigned to him. Mr. Brown loved his job, loved working

with children, and believed that he was performing his job well.

         20. On at least two occasions, after hiring and before firing, when Mr. Brown was having

trouble understanding things at work, he informed Defendants of his disability.

         21. On October 2, 2018, Defendants initiated communication with Mr. Brown, told Mr.

Brown that his employment was being terminated, terminated Mr. Brown’s employment, drafted a

document that indicated that the termination was a voluntary quit, told Mr. Brown (who could not

understand the document due to his cognitive impairment (i.e., his disability)) that the document

indicated that his employment was being terminated, had Mr. Brown sign the document, and signed

as a witness to the document. Mr. Brown had no idea that the document indicated that he was

voluntarily quitting.

         22. Defendants fired Mr. Brown and, knowing Mr. Brown’s disability, tricked Mr. Brown

into signing a voluntary quit document. Respondent’s motive was probably money; more

particularly, probably to save on unemployment insurance.

         23. Defendants committed the aforementioned acts with malice, and evil intent towards Mr.

Brown.

         24. Defendants committed the aforementioned acts deliberately and with forethought to

discriminate against Mr. Brown and were done with reckless indifference to his state and federally

protected rights.

         25. Defendants committed the aforementioned acts negligently and in breach of their duty to

refrain from discriminating against Mr. Brown based upon his disability.

         26. As a direct and proximate result of Defendants’ aforementioned actions against Mr.

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Brown, Mr. Brown has suffered and will continue to suffer damages including, but not limited to:

deprivation of his civil rights, loss of his job, loss of back pay and benefits, loss of future earnings,

injury to his reputation, extreme and permanent physical and emotional pain and suffering,

inconvenience, mental anguish, embarrassment, disgrace, humiliation, loss of dignity, loss of

enjoyment of life, monetary losses, costs and attorney’s fees.

                                       CAUSES OF ACTION

  COUNT I – DISCRIMINATION ON THE BASIS OF DISABILITY [42 U.S.C. §12101, et

                 seq., The Americans with Disabilities Act of 1990, as amended]

        27. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein

and further alleges as follows:

        28. Mr. Brown is a qualified individual with a disability.

        29. Defendants’ (a) termination of Mr. Brown, and (b) trickery, deception, deceit, fraud, and

misrepresentation upon Mr. Brown because of Mr. Brown’s disability constituted violations of the

Americans with Disabilities Act of 1990, as amended; Defendants violating the prohibition that

“[n]o covered entity shall discriminate against a qualified individual on the basis of disability in

regard to job application procedures, the hiring, advancement, or discharge of employees, employee

compensation, job training, and other terms, conditions, and privileges of employment”

        30. Defendants, by discriminating against Mr. Brown based upon his disability, have

violated the Americans With Disabilities Act of 1990, as amended, 42 U.S.C. §12101, et seq. with

knowing or reckless disregard of that Act's proscriptions.

        31. As a direct and proximate result of Defendants’ aforementioned actions against Mr.

Brown, Mr. Brown has suffered and will continue to suffer damages including, but not limited to:

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deprivation of his civil rights, loss of his job, loss of back pay and benefits, loss of future earnings,

injury to his reputation, extreme and permanent physical and emotional pain and suffering,

inconvenience, mental anguish, embarrassment, disgrace, humiliation, loss of dignity, loss of

enjoyment of life, monetary losses, costs and attorney’s fees.

               COUNT II - DISCRIMINATION, VIOLATIONS OF THE FEDERAL
                              REHABILITATION ACT

        32. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein

and further alleges as follows:

        33. Upon information and belief, Defendants received federal funds and, at all relevant

times, is/was subject to the Federal Rehabilitation Act, 29 U.S.C. §§ 791, 793, 794.

        34. Plaintiff was a qualified individual with a disability as that term is used in the Federal

Rehabilitation Act.

        35. Defendant engaged in intentional and unlawful disability discrimination against

Plaintiff by refusing to allow Plaintiff to work for it solely because of his record of disability and

because he was regarded as being disabled.

        36. Plaintiff suffered adverse actions because of the discrimination.

        37. Defendant’s violations were willful and intentional.

        38. As a direct and proximate result of Defendants’ aforementioned actions against Mr.

Brown, Mr. Brown has suffered and will continue to suffer damages including, but not limited

to: deprivation of his civil rights, loss of his job, loss of back pay and benefits, loss of future

earnings, injury to his reputation, extreme and permanent physical and emotional pain and

suffering, inconvenience, mental anguish, embarrassment, disgrace, humiliation, loss of dignity,

loss of enjoyment of life, monetary losses, costs and attorney’s fees.
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                           COUNT III – WRONGFUL DISCHARGE

        39. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein

and further alleges as follows:

        40. Defendants terminated Plaintiff’s employment solely because of Plaintiff’s disability.

        41. Defendants’ termination of Mr. Brown’s employment violated a clear mandate of public

policy; that is, the prohibition against discrimination and discharge in employment based upon

disability. Said public policy is codified in the Americans with Disabilities Act, as amended, at 42

U.S.C.A. §12112 (which provides in part, “[n]o covered entity shall discriminate against a qualified

individual on the basis of disability in regard to job application procedures, the hiring, advancement,

or discharge of employees, employee compensation, job training, and other terms, conditions, and

privileges of employment”).

        42. As a direct and proximate result of Defendants’ aforementioned actions against Mr.

Brown, Mr. Brown has suffered and will continue to suffer damages including, but not limited to:

deprivation of his civil rights, loss of his job, loss of back pay and benefits, loss of future earnings,

injury to his reputation, extreme and permanent physical and emotional pain and suffering,

inconvenience, mental anguish, embarrassment, disgrace, humiliation, loss of dignity, loss of

enjoyment of life, monetary losses, costs and attorney’s fees.

                   COUNT IV – INTENTIONAL MISREPRESENTATION

        43. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein

and further alleges as follows:

        44. Defendants’ assertions to Mr. Brown referred to herein regarding the voluntary quit

document were false representations of material facts.

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         45. Additionally, Defendants had a duty to disclose material facts regarding the truth of their

termination of Mr. Brown and failed to disclose these material facts with intent to deceive Mr.

Brown.

         46. Defendants knew that these representations were false, or the representations were made

with such reckless disregard for the truth that knowledge of the falsity of the statements can be

imputed to them.

         47. Defendants made the false representations for the purpose of defrauding Mr. Brown.

         48. Mr. Brown relied with justification upon the misrepresentations.

         49. As a direct and proximate result of Defendants’ aforementioned actions against Mr.

Brown, Mr. Brown has suffered and will continue to suffer damages including, but not limited to:

deprivation of his civil rights, loss of his job, loss of back pay and benefits, loss of future earnings,

injury to his reputation, extreme and permanent physical and emotional pain and suffering,

inconvenience, mental anguish, embarrassment, disgrace, humiliation, loss of dignity, loss of

enjoyment of life, monetary losses, costs and attorney’s fees.

                      COUNT V – NEGLIGENT MISREPRESENTATION

         50. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein

and further alleges as follows:

         51. Defendants, owing a duty of care to Mr. Brown, negligently made false statements

(referred to herein regarding the voluntary quit document) to Mr. Brown.

         52. Defendants intended for Mr. Brown to act and rely upon these negligent assertions

         53. Defendants knew that Mr. Brown would probably rely upon the negligent assertions,

which would cause damage to Mr. Brown.

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        54. Mr. Brown justifiably relied upon Defendants’ statements and assertions.

        55. As a direct and proximate result of Defendants’ aforementioned actions against Mr.

Brown, Mr. Brown has suffered and will continue to suffer damages including, but not limited to:

deprivation of his civil rights, loss of his job, loss of back pay and benefits, loss of future earnings,

injury to his reputation, extreme and permanent physical and emotional pain and suffering,

inconvenience, mental anguish, embarrassment, disgrace, humiliation, loss of dignity, loss of

enjoyment of life, monetary losses, costs and attorney’s fees.

   COUNT VI – TORTIOUS INTERFERENCE WITH PROSPECTIVE ADVANTAGE

        56. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein

and further alleges as follows:

        57. Defendants’ actions, as specifically alleged herein (the trickery in causing Mr. Brown to

execute the aforementioned voluntary quit document), constituted intentional and willful acts that

were calculated to cause damage to Mr. Brown with respect to his compensation, terms, conditions

and privileges of employment. Defendants specifically committed these acts to cause Mr. Brown to

be disqualified from collecting unemployment benefits.

        58. Defendants’ actions, as specifically alleged herein, were unjustified and were committed

with the unlawful and improper purposes of causing damage to Plaintiff’s employment and post-

employment rights.

        59. As a direct and proximate result of Defendants’ aforementioned actions against Mr.

Brown, Mr. Brown has suffered and will continue to suffer damages including, but not limited to:

deprivation of his civil rights, loss of his job, loss of back pay and benefits, loss of future earnings,

injury to his reputation, extreme and permanent physical and emotional pain and suffering,

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inconvenience, mental anguish, embarrassment, disgrace, humiliation, loss of dignity, loss of

enjoyment of life, monetary losses, costs and attorney’s fees.

                                          PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests that this Court:

          A. Declare the conduct of Defendants towards Plaintiff to be in violation of Plaintiff's civil

rights;

          B. Enjoin Defendants from engaging in such further discriminatory conduct;

          C. Award Plaintiff back pay;

          D. Award Plaintiff front pay;

          E. Award Plaintiff Judgment against Defendants, jointly and severally, for compensatory

damages in the amount of three hundred thousand dollars ($300,000.00), with interest and costs;

          F. Award Plaintiff Judgment against Defendants, jointly and severally, for punitive damages

in the amount of three hundred thousand dollars ($300,000.00), with interest and costs;

          G. Award Plaintiff Judgment against Defendants, jointly and severally, for reasonable

attorney's fees and the costs of this action;

          H. Grant such other and further relief that the nature of Plaintiff’s cause requires.



                                                  /s/ Michael S. Greene                             .
                                                  Michael S. Greene, Esquire (Federal Bar No. 11797)
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